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                                                                                                     FILED
                                                                                          John E. Triplett, Acting Clerk
                       IN THE UNITED STATES DISTRICT COURT                                 United States District Court

                      FOR THE SOUTHERN DISTRICT OF GEORGIA                            By CAsbell at 10:00 am, Oct 19, 2020

                               BRUNSWICK DIVISION


    BRANDON MICHAEL CHAPMAN,

                 Petitioner,                                 CIVIL ACTION NO.: 2:20-cv-98

         v.

    LINDA GETER,

                 Respondent.


                                            ORDER

        Petitioner, an inmate at the Federal Correctional Institution in Jesup, Georgia, filed this

28 U.S.C. § 2241 action. The record reflects that Petitioner has paid a $5.00 filing fee.

        The Court directs the United States Marshal to serve a copy of the Petition and a copy of

this Order by registered or certified mail upon: (1) the Attorney General of the United States;

(2) the named Respondent; and (3) the civil process clerk at the office of the United States

Attorney for the Southern District of Georgia. See Fed. R. Civ. P. 4(i).

        The Court orders Respondent to show cause, in writing, why Petitioner’s writ should not

be granted by filing an Answer within 21 days of service of the Petition. See Rule 5 of the Rules

Governing Section 2254 Petitions.1 If Respondent seeks dismissal or denial of the Petition,

Respondent should file, in lieu of an answer, a motion to dismiss or deny the Petition.

Grounds for a motion to dismiss include, but are not limited to: failure to exhaust available

remedies, untimeliness, failure to state a cognizable claim, procedural default, second or

successive petition bar, absence of custody at the time the petition was filed, mootness, ripeness,


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       The Rules Governing Section 2254 Cases may also apply to habeas actions brought under Section
2241. Rule 1(b) of the Rules Governing Section 2254 Cases.
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and failure to name the proper respondent. Respondent must attach complete copies of all files

and records cited in support of a motion to dismiss as exhibits to the motion to dismiss. If

Respondent moves to dismiss, and the motion is denied, Respondent must file an answer that

complies with Rule 5 within 21 days of denial of the motion to dismiss.

       Petitioner is cautioned that, while this action is pending, he shall immediately inform this

Court in writing of any change of address. Failure to do so will result in dismissal of this case.

       SO ORDERED, this 19th day of October, 2020.




                                      _____________________________________
                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




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